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                                                                                    ROBERT R. CARR
                                UNITED STA TES DISTRICT COURT                   CLERK U.S. DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION

  MARTIN LUF1MAN and                                    CASE NO. 5:16-cv-00014-JMH
  VIRGINIA LUFTMAN                                        HON. JOSEPH M. HOOD
                   Plaintiffs
                                                              AGREED ORDER
  v.                                                           OF DISMISSAL
  LABORATORY FOR KIDNEY
  PATHOLOGY, INC.;
                  Defendant
  and LILIA MAURICIO, M.D.
                  Putative Defendant


                                   *    *       *      *       *
        By Agreement of the Plaintiffs, Martin Luftman and Virginia Luftman, and the Defendant,

 Laboratory for Kidney Pathology, Inc., and the Putative Defendant, Lilia Mauricio, M.D., and the

 Court being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that

 all claims made against the Defendant, Laboratory for Kidney Pathology, Inc., and the Putative

 Defendant, Lilia Mauricio, M.D., in connection with the above-captioned action are hereby

 DISMISSED, with prejudice, with each party to bear their own costs. This Court shall retain

 jurisdiction to resolve any and all disputes related to an agreement reached by the parties with

 regard to this case.

        IT IS SO ORDEREDa

         ENTERED, this '2-tlay of                            , 20(}.




                                                     0 ORAB E JOSEPH M. HOOD
                                                     U GE, U.S. DISTRICT COURT
                                                      STERN DISTRICT OF KENTUCKY
                                               1    LEXINGTON DIVISION
